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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION



BARBARA R. SPERL, individually and on                  Case No.: 3:20-cv-1480-MO
behalf of the Estate of Phillip A. Sperl,

               Plaintiff,                              STIPULATION AND ORDER OF
                                                       DISMISSAL WITHOUT PREJUDICE OF
v.                                                     DEFENDANT VIACOMCBS INC.

CURTISS-WRIGHT CORPORATION; et
al.,
                                                       Trial Date: January 10, 2022
               Defendants.



                                          STIPULATION

       Plaintiffs Barbara R. Sperl, individually and on behalf of the Estate of Phillip A. Sperl,

(hereinafter, “Plaintiff”) and Defendant ViacomCBS Inc., by and through her counsel of record,

stipulate that all claims against Defendant ViacomCBS Inc., only may be dismissed without

prejudice and without costs or attorney fees as to any party in the above-captioned matter,

reserving to Plaintiff her claims against the other parties.



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DATED this 16th of February, 2021.         DATED this 16th of February, 2021.

BERGMAN DRAPER OSLUND UDO                  TANENBAUM KEALE, LLP

s/Brendan E. Little                        s/Christopher S. Marks
Brendan E. Little (pro hac vice)           s/Malika Johnson
Vanessa Firnhaber Oslund, OSB #170356      Christopher S. Marks, OSB #022052
Attorneys for Plaintiffs                   Malika Johnson, OSB #186101
                                           Attorneys for ViacomCBS Inc.




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                                    ORDER OF DISMISSAL

       THIS MATTER having come before the Court by way of stipulated motion by Plaintiff

and Defendant ViacomCBS Inc., to dismiss all claims against Defendant ViacomCBS Inc., only,

without prejudice and without costs and/or fees, and the Court being fully advised in the

premises, now therefore it is hereby ORDERED as follows:

       All Plaintiff’s claims against Defendant ViacomCBS Inc., only are hereby dismissed

without prejudice and without costs or attorney fees as to any party.


             March 16, 2021
       DATED:__________________


                                             ______________________________
                                             JUDGE MICHAEL W. MOSMAN


PRESENTED BY:
TANENBAUM KEALE LLP


s/Christopher S. Marks
s/Malika Johnson
Christopher S. Marks, OSB #022052
Malika Johnson, OSB #186101
Attorneys for ViacomCBS Inc.

APPROVED BY:
BERGMAN DRAPER OSLUND UDO


s/Brendan E. Little
Brendan E. Little (pro hac vice)
Vanessa Firnhaber Oslund, OSB #170356
Attorneys for Plaintiffs




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